            Case 1:16-cv-10666-JGD Document 72 Filed 04/14/17 Page 1 of 2



                                UNITED STATES DISTRICT COURT
                                 DISTRICT OF MASSACHUSETTS


GRANT ARMSTRONG and                          )
ARMSTRONG RX GP, LLC,                        )
                                             )
                Plaintiffs,                  )
       v.                                    )
                                             )
WHITE WINSTON SELECT ASSET                   )              CIVIL ACTION
FUNDS, LLC,                                  )              NO. 16-10666-JGD
                                             )
                Defendant/Third Party        )
                Plaintiff,                   )
                                             )
       v.                                    )
                                             )
ARMSTRONG RX II GP, LLC and                  )
ARMSTRONG RX II, LP,                         )
                                             )
                Third Party Defendants.      )


                          SCHEDULING ORDER AND ORDER
                        ON DEFENDANT’S MOTION TO DISMISS
                    AND PLAINTIFFS’ MOTION FOR LEAVE TO AMEND

       On April 13, 2017, this court held a status conference pursuant to Fed. R. Civ. P. 16(a),

and a hearing to consider oral argument on “The Plaintiffs’ Motion for Leave to File Second

Amended Complaint” (Docket No. 56). During the hearing, the court also addressed the status

of “White Winston Select Asset Funds, LLC’s Motion to Dismiss Plaintiffs’ Amended Complaint”

(Docket No. 37) in light of the plaintiffs’ motion to further amend their complaint and the

defendant’s contention that such an amendment should be denied as futile. After

consideration of the parties’ oral arguments and their written submissions, and for the reasons

discussed in open court, it is hereby ORDERED as follows:
            Case 1:16-cv-10666-JGD Document 72 Filed 04/14/17 Page 2 of 2



       1.       As proposed by the court and agreed by the parties, White Winston’s motion to

dismiss the Amended Complaint (Docket No. 37) is DENIED AS MOOT, the plaintiffs’ motion for

leave to amend (Docket No. 56) is ALLOWED, and the proposed Second Amended Complaint

shall be deemed the operative complaint in this action. The court will construe White

Winston’s opposition to the plaintiffs’ motion for leave to amend as a motion to dismiss the

Second Amended Complaint. In ruling on that motion, the court will consider all of the

arguments that have been presented by the parties in connection with both White Winston’s

motion to dismiss the Amended Complaint and the plaintiffs’ motion for leave to file a Second

Amended Complaint.

       2.       The parties shall promptly submit a proposed stipulated order regarding the

production of ESI.

       3.       The parties shall proceed with fact discovery, including the production of

documents on a rolling basis. The parties shall notify the court when they are approaching the

end of document production relating to issues that are not subject to White Winston’s motion

to dismiss the Second Amended Complaint.

       4.       As agreed, any written discovery requests shall be served by July 28, 2017, and

all fact discovery shall be completed by December 31, 2017.

       5.       The parties shall notify the court when they determine that another status

conference would be helpful. In their notice, the parties shall include proposed dates for the

conference.

                                                     / s / Judith Gail Dein
                                                     Judith Gail Dein
Dated: April 14, 2017                                United States Magistrate Judge


                                                 2
